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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :              MAGISTRATE NO. 20-mj-127
                                    :
            v.                      :
                                    :
OLUDAMILARE OLUGBUYI,               :
                                    :
                  Defendant.        :
____________________________________:

                                             ORDER

       This matter having come before the Court pursuant to the motion of the United States to

unseal the Criminal Complaint, Affidavit in Support of Criminal Complaint, Summons, Motion to

Seal, and Motion to Unseal in this matter,

       IT IS ORDERED that the motion is hereby GRANTED, and that the Criminal Complaint,

Affidavit in Support of Criminal Complaint, Summons, Motion to Seal, and Motion to Unseal are

unsealed and may be entered on the public docket by the Clerk’s office.


                                                 Deborah A. Digitally signed by
                                                            Deborah A. Robinson

                                                 Robinson Date:   2020.07.02
                                                            17:31:43 -04'00'
Date: July 2, 2020                                 ___________________________________
                                                   Deborah A. Robinson
                                                   UNITED STATES MAGISTRATE JUDGE
